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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA


 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE,

 Plaintiff,

 v.                                                   Case No. 20-cv-2295 (EGS)

 UNITED STATES POSTAL SERVICE,
 et al.,

 Defendants


                                                ORDER

1.      Forthwith and no later than 9:00 p.m. today, the Postal Service shall redistribute to all
        Division Directors and Plant Managers the “Extraordinary Measures – Return Ballot Mail
        Processing Policy,” dated October 28, 2020, which provided specific guidance in
        administering and managing Mail Processing for the last week of the 2020 Election.

        a.       When recirculating the policy, the Postal Service shall indicate that it is doing so
                 to reiterate that all processing facilities must abide by the requirements of that
                 policy to expedite the treatment of ballots, and that it is recirculating this policy at
                 the instruction of a federal district court.
        b.       The Postal Service shall also reinforce its instruction that the identified “special
                 procedures must be put in place to ensure we deliver every ballot possible by the
                 cutoff time on Election Day (except in Louisiana, where ballots should be
                 delivered by Monday, November 2). This instruction applies even in
                 “postmarking” states that may allow for later delivery.”
        c.       USPS shall use the Express Mail Network on Monday, Tuesday, and after
                 Election Day to expedite ballots out of local service area to ensure timely delivery
                 of ballots, unless there is a faster surface option through existing transportation.
        d.       The Postal Service shall also reinforce that all ballots with a local destination
                 must be cleared and processed on the same day or no later than the next morning
                 for delivery to local offices, from now through at least November 7, 2020 and, if
                 operationally necessary for timely mail delivery by the relevant state deadline, up
                 through the final deadline for mail ballot receipt in each state.
        e.       The Postal Service shall also reinforce that upon entry, all origin processing plants
                 must apply a legible postmark to every ballot reflecting the date the ballot was
                 collected if it does not already have one.
        f.       The Postal Service shall also note that the chart attached to the policy has been
                 replaced by the “State Deadlines for Return Delivery of Mail Ballots” chart
                 attached to this Order as Exhibit 1.
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       g.       USPS shall issue a targeted written communication, and make all reasonable
                efforts to orally convey, to Division Directors and Plant Managers that serve
                Minnesota, New Jersey, North Carolina, and Pennsylvania that the chart of state
                deadlines distributed on October 28 has been replaced with the document attached
                as Exhibit 1; reiterating the importance of processing all election ballots in these
                states by the “Election Day Deadline;” and reiterating that they should rely on the
                extended deadline only for ballots that come into their possession after Election
                Day.

2.     In addition to the daily “all clear” certification, Plant Managers are required to certify by
       10:00 AM local time on Monday, November 2, 2020, that the ballot mail is clear to the
       delivery office and/or local pickup per the special Sunday processing instructions.

3.     In addition, Plant Managers are required to certify by 10:00 AM local time on Monday,
       November 2, 2020 and Tuesday, November 3, 2020 that they have complied with the
       measures identified in paragraphs 1.c and 1.d above.

4.     Postal Service management shall make all reasonable efforts to convey orally the
       requirements in paragraphs 1 and 2 of this Order to the relevant managerial and
       supervisory personnel in the following Districts as soon as practicable following the
       issuance of this order: Greater S. Carolina, Greensboro, Houston, Mid-Carolinas, Central
       Pennsylvania, Kentuckiana, Detroit, Greater Indiana, Northern New England,
       Colorado/Wyoming, Greater Michigan, Oklahoma, and Philadelphia Metropolitan.

5.     No later than 9:00 a.m. tomorrow, the Postal Service shall distribute to all local offices a
       written communication reiterating the following Postal Service policy: Every election
       ballot that is not sent to a processing facility must be postmarked or cancelled at the Post
       Office or local delivery unit, regardless of the postage payment method or indicia on the
       mailpieces. This includes any ballots that are stamped, metered, permitted, Business
       Reply Mail, Qualified Business Reply Mail, Courtesy Reply Mail, Postage Validation
       Imprinter (PVI) labeled postage, Self-Service Kiosk (SSK) labeled postage, and any other
       method of paying postage. Even short paid ballots and ballots without postage must be
       postmarked (postage collection will happen later).

6.     USPS shall continue to make all reasonable efforts to ensure retail facilities are
       complying with the October 20, 2020 Retail and Delivery Extraordinary Measures
       memorandum (ECF No. 51-1), including the provisions related to postmarking, and the
       October 30, 2020 Order of the Court, and that processing facilities and local offices are
       complying with this Order.



SO ORDERED

Emmet G. Sullivan
United States District Judge
November 1, 2020


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                   Exhibit 1
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Indiana         12:00 noon on Election Day                             n/a
                                                                       November 9 by 12:00 noon or the time for
Iowa            Close of polls on Election Day                         canvass, whichever is earlier (if postmarked by
                                                                       November 2)
Kansas          Close of polls on Election Day                         November 6 (if postmarked by Election Day)
Kentucky        6:00 pm on Election Day                                November 6 (if postmarked by Election Day)
Louisiana       4:30 pm on November 2                                  n/a
Maine           Close of polls on Election Day                         n/a
                                                                       November 13 by 10:00 am (if postmarked by
Maryland        8:00 pm on Election Day
                                                                       Election Day)
Massachusetts   Close of polls on Election Day                         November 6 (if postmarked by Election Day)
Michigan        8:00 pm on Election Day                                n/a
                                                                       To reiterate, all efforts should first be made to
                                                                       ensure the return of completed ballots by the
                                                                       Election Day deadline in column 2. It is
Minnesota       Election Day (presumably close of polls)
                                                                       possible, but not certain, that ballots returned
                                                                       by November 10 will be counted, if postmarked
                                                                       by Election Day.
Mississippi     Election Day (presumably close of polls)               November 10 (if postmarked by Election Day)
Missouri        Close of polls on Election Day                         n/a
Montana         8:00 pm on Election Day                                n/a
Nebraska        Close of polls on Election Day                         n/a
                                                                       November 10 by 5:00 pm (if postmarked by
Nevada          Close of polls on Election Day
                                                                       Election Day) or November 6 (if unpostmarked)
New Hampshire   5:00 pm on Election Day                                n/a
                                                                       November 5, if postmarked by Election Day. It
                                                                       is also possible, but not certain, that
New Jersey      Close of polls on Election Day                         unpostmarked ballots returned by November 5
                                                                       will be counted and postmarked ballots
                                                                       returned by November 10 will be counted.
New Mexico      7:00 pm on Election Day                                n/a
                                                                       November 10 (if postmarked by Election Day)
New York        Close of polls on Election Day
                                                                       or November 4 (if unpostmarked)
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                                                                           November 6 by 5:00 pm, if postmarked by
                                                                           Election Day. It is also possible, but not
North Carolina   5:00 pm on Election Day                                   certain, that postmarked ballots will be counted
                                                                           if they are returned by November 12 at 5:00
                                                                           pm.
                 Election Day (presumably close of polls; may need to be   November 9, in time for the county canvass (if
North Dakota
                 postmarked before Election Day)                           postmarked by November 2)
Ohio             Close of polls on Election Day                            November 13 (if postmarked by November 2)
Oklahoma         7:00 pm on Election Day                                   n/a
Oregon           8:00 pm on Election Day                                   n/a
                                                                           To reiterate, all efforts should first be made to
                                                                           ensure the return of completed ballots by the
                                                                           Election Day deadline in column 2. It is
Pennsylvania     8:00 pm on Election Day
                                                                           possible, but not certain, that ballots returned
                                                                           by November 6 will be counted (if postmarked
                                                                           by Election Day or lacking a postmark).
Rhode Island     Close of polls on Election Day                            n/a
South Carolina   Close of polls on Election Day                            n/a
South Dakota     Close of polls on Election Day                            n/a
Tennessee        Close of polls on Election Day                            n/a
                                                                           November 4 by 5:00 pm (if postmarked by
Texas            Close of polls on Election Day
                                                                           Election Day)
                                                                           November 10-17, depending on date of
                 Election Day (presumably close of polls; may need to be
Utah                                                                       country canvass (if postmarked by November
                 postmarked before Election Day)
                                                                           2)
Vermont          Close of polls on Election Day                            n/a
                                                                           November 6 by 12:00 noon (if postmarked by
Virginia         Close of polls on Election Day
                                                                           Election Day)
Washington       8:00 pm on Election Day                                   November 23 (if postmarked by Election Day)
West Virginia    November 4                                                November 9 (if postmarked by Election Day)
Wisconsin        8:00 pm on Election Day                                   n/a
Wyoming          7:00 pm on Election Day                                   n/a
